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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.:

  GYLMA VELANDIA,                           )
                                            )
          Plaintiff,                        )
  vs.                                       )
                                            )
  MSC CROCIERE S.A., a foreign corporation, )
  MSC CRUISES S.A., a foreign corporation   )
  and MSC CRUISES (USA) INC.,               )
  a foreign corporation                     )
                                            )
                                            )
          Defendants.                       )
  __________________________________________/

                                 COMPLAINT FOR DAMAGES
                                AND DEMAND FOR JURY TRIAL

         Comes now, the Plaintiff, GYLMA VELANDIA, an individual, by and through the

  undersigned counsel and sues the Defendants, MSC CROCIERE S.A., a foreign corporation, MSC

  CRUISES S.A., a foreign corporation, and MSC CRUISES (USA) INC., a foreign corporation, for

  damages and alleges as follows:

                                               PARTIES

  1.     The Plaintiff, GYLMA VELANDIA, an individual, is a resident of Elmhurst, Chautauqua

  County, New York, over the age of 18, otherwise sui juris and complied with all conditions

  precedent.

  2.     At all times material hereto, Defendant, MSC CROCIERE S.A., was and is a foreign

  business entity, conducting business in the State of Florida, operating as a cruise line, common

  carrier, out of Miami, Florida, and conducts substantial and not isolated business in the Southern

  District of Florida. Pursuant Section 48.193, Florida Statutes (2015), this Court has jurisdiction over



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  the Defendant, as Defendant operates, conducts, engages in, or carries on a business or business

  venture in Florida and has an office or agency in Florida.

  3.      At all times material hereto, Defendant, MSC CRUISES S.A., was and is a foreign business

  entity, conducting business in the State of Florida, operating as a cruise line, common carrier, out of

  Miami, Florida, and conducts substantial and not isolated business in the Southern District of

  Florida. Pursuant Section 48.193, Florida Statutes (2015), this Court has jurisdiction over the

  Defendant, as Defendant operates, conducts, engages in, or carries on a business or business venture

  in Florida and has an office or agency in Florida.

  4.      At all times material hereto, Defendant, MSC CRUISES (USA) INC., was and is a foreign

  corporation authorized to do, and doing business in the State of Florida with its principal office

  located in Ft. Lauderdale, Broward County, Florida, and has by contract made itself subject to the

  jurisdiction of this Court.

  5.      The Defendants, MSC CROCIERE S.A., and MSC CRUISES S.A., and MSC CRUISES

  (USA) INC., (hereinafter are collectively known and referred to as “MSC CRUISES”).

  6.      At all times material hereto, MSC CRUISES owned, operated and managed the cruise

  ship M/S MSC DIVINA, which set sail on March 21, 2015 from Miami, Florida.

  7.      At all times materials hereto, Plaintiff, GYLMA VELANDIA, was a paying passenger

  vacationing on the cruise ship M/S MSC DIVINA for a voyage that departed from Miami, Florida on

  March 21, 2015. See attached as Plaintiff’s Composite Exhibit “1”, Plaintiff’s M/S MSC Divina

  cruise summary and cruise identification card.

  8.      At all times material hereto, Plaintiff, GYLMA VELANDIA, was a business invitee of

  Defendant, MSC CRUISES, pursuant to the contractual common carrier relationship.

  9.      The Defendants, MSC CRUISES, were previously properly notified of the claim.



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  10.    At all times material hereto, all conditions precedent to the commencement of this action

  have been met.

                                   JURISDICTION AND VENUE

  11.    This is an action for damages that arose in the high seas and therefore is a case within

  the admiralty and maritime jurisdiction of this Court pursuant to 28 U.S.C. § 1333. Defendant,

  MSC CRUISES, are corporations authorized to do and doing business in the State of Florida, and

  have by contract made themselves subject to the jurisdiction of this Court.

  12.    This is an action for damages, which exceeds $ 75,000.00.

  13.    Venue is proper in the Southern District of Florida pursuant the Defendant’s ongoing

  business transactions in Miami-Dade and Broward County, Florida.

  14.    The Defendants are subject to the jurisdiction of this Court as, at all times relevant engaged in

  continuous and systematic business in this State. Moreover, the Defendants, made use of the means

  and instrumentalities of interstate commerce, the means and instruments of transportation and

  communication in interstate commerce.

                                    FACTUAL BACKGROUND

  15.    On March 25, 2015, while on MSC DIVINA, the Plaintiff, GYLMA VELANDIA was

  walking towards her assigned dining room, when she was caused to slip and/or trip and fall due

  to a foreign substance that had been allowed to accumulate on the floor.

  16.    The Plaintiff was caused to suffer severe injuries as a result of the Defendant’s negligence.

                                   COUNT I- NEGLIGENCE
                                (AGAINST MSC CROCIERE S.A.)

         The Plaintiff, GYLMA VELANDIA, hereby adopts and realleges each and every

  allegation in paragraphs 1 through 16, above.




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  17.    The Defendant owed the Plaintiff a duty to exercise reasonable care for the safety of its

  passengers, a duty to exercise reasonable care under the circumstances, and, but not limited to, a

  duty to warn of dangers known, or those it should have known, to the carrier in places where the

  passenger is invited to, or may reasonably be expected to visit.

  18.    Notwithstanding said duty, the Defendant breached those duties and was negligent by:

                 a.      Failing to require crew members to wipe down wet and/or
                         soiled areas at or near the hallway and/or entryway near the
                         dining room;
                 b.      Failing to warn anyone including the Plaintiff who would
                         walk in said area, in the vicinity of the said area of the
                         dangerous condition and the fact that the floor was soiled;
                 c.      Failing to inspect for and to observe the foreign substance on
                         the floor at or near the hallway and/or entryway near the
                         dining room;
                 d.      Observing that the floor area was soiled, but failing to wipe
                         down the soiled floor area;
                 e.      Failing to implement a method of operation, which was
                         reasonable and safe and would prevent dangerous conditions
                         such as the one in this case;
                 f.      Allowing an ongoing, recurring, continuous and/or repetitive
                         problem to occur or to remain on the premises which would
                         cause accidents or injuries;
                 g.      Providing negligent maintenance to the area or to the
                         premises;
                 h.      Utilizing or allowing negligent methods of operations;
                 i.      Failing to otherwise maintain the area and the premises in a
                         safe and reasonable manner;
                 j.      Failing to comply with applicable industry standards, statutes,
                         and/or regulations, the violation of which is negligence per se
                         and/or evidence of negligence;
                 k.      Failing to otherwise provide its passengers with a safe place
                         to walk;
                 l.      Failing to properly maintain the hallway and/or entryway
                         near the dining room, so as to prevent passengers from
                         falling; and/or
                 m.      Failing to comply with applicable standards, statutes, and/or
                         regulations, the violation of which is negligence per se and/or
                         evidence of negligence.

  19.    The Defendant created a dangerous condition on the subject ship and allowed the dangerous




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  condition to exist thereby causing an accident on the date referenced above in which the Plaintiff was

  severely injured.

  20.    The Defendant either (a) created the dangerous condition, through its agents or employees;

  (b) had actual knowledge of the dangerous condition; and/or (c) had constructive knowledge of the

  dangerous condition.

  21.    The Defendant had constructive knowledge of the dangerous condition by, inter alia, (a) the

  length of time the dangerous condition existed; (b) the size and/or nature of the dangerous condition;

  and/or (c) the fact that the dangerous condition, a similar dangerous condition, or the cause of the

  dangerous condition was repetitive, continuous, ongoing, recurring, or occurring with some

  regularity. Thus, the dangerous condition was reasonably foreseeable and in the exercise of

  reasonable care the Defendant should have known about it.

  22.    In the alternative, notice to the Defendant is not required because the Defendant engaged in

  and was guilty of negligent maintenance; and/or (b) engaged in and was guilty of negligent methods

  of operations.

  23.    The negligent condition was created by the Defendant; and was known to the Defendant; and

  had existed for a sufficient length of time so that Defendant should have known of it; and was a

  continuous or repetitive problem thus giving notice to the Defendant.

  24.    The negligent condition occurred with sufficient regularity so as to be foreseeable by the

  Defendant, and should have been foreseeable by the Defendant.

  25.    As a result of the Defendant's negligence, the Plaintiff has suffered bodily injury resulting in

  pain and suffering, disability, disfigurement, scarring, mental anguish, loss of capacity for the

  enjoyment of life, expense of hospitalization, medical and nursing care and treatment. The losses are

  either permanent or continuing.




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  26.       The Plaintiff has suffered these losses in the past and will continue to suffer them in the

  future.

            WHEREFORE, the Plaintiff, GYLMA VELANDIA, demands judgment against MSC

  CROCIERE S.A., in excess of the Seventy Five Thousand Dollars ($75,000.00), exclusive of

  interest and costs and demands a trial by jury of all issues triable as of right by jury.

                                     COUNT II- NEGLIGENCE
                                   (AGAINST MSC CRUISES S.A.)

            The Plaintiff, GYLMA VELANDIA, hereby adopts and realleges each and every

  allegation in paragraphs 1 through 16, above.

  27.       The Defendant owed the Plaintiff a duty to exercise reasonable care for the safety of its

  passengers, a duty to exercise reasonable care under the circumstances, and, but not limited to, a

  duty to warn of dangers known, or those it should have known, to the carrier in places where the

  passenger is invited to, or may reasonably be expected to visit.

  28.       Notwithstanding said duty, the Defendant breached those duties and was negligent by:

                   a.      Failing to require crew members to wipe down wet and/or
                           soiled areas at or near the hallway and/or entryway near the
                           dining room;
                   b.      Failing to warn anyone including the Plaintiff who would
                           walk in said area, in the vicinity of the said area of the
                           dangerous condition and the fact that the floor was soiled;
                   c.      Failing to inspect for and to observe the foreign substance on
                           the floor at or near the hallway and/or entryway near the
                           dining room;
                   d.      Observing that the floor area was soiled, but failing to wipe
                           down the soiled floor area;
                   e.      Failing to implement a method of operation, which was
                           reasonable and safe and would prevent dangerous conditions
                           such as the one in this case;
                   f.      Allowing an ongoing, recurring, continuous and/or repetitive
                           problem to occur or to remain on the premises which would
                           cause accidents or injuries;
                   g.      Providing negligent maintenance to the area or to the



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                         premises;
                   h.    Utilizing or allowing negligent methods of operations;
                   i.    Failing to otherwise maintain the area and the premises in a
                         safe and reasonable manner;
                   j.    Failing to comply with applicable industry standards, statutes,
                         and/or regulations, the violation of which is negligence per se
                         and/or evidence of negligence;
                   k.    Failing to otherwise provide its passengers with a safe place
                         to walk;
                   l.    Failing to properly maintain the hallway and/or entryway
                         near the dining room, so as to prevent passengers from
                         falling; and/or
                   m.    Failing to comply with applicable standards, statutes, and/or
                         regulations, the violation of which is negligence per se and/or
                         evidence of negligence.

  29.    The Defendant created a dangerous condition on the subject ship and allowed the dangerous

  condition to exist thereby causing an accident on the date referenced above in which the Plaintiff was

  severely injured.

  30.    The Defendant either (a) created the dangerous condition, through its agents or employees;

  (b) had actual knowledge of the dangerous condition; and/or (c) had constructive knowledge of the

  dangerous condition.

  31.    The Defendant had constructive knowledge of the dangerous condition by, inter alia, (a) the

  length of time the dangerous condition existed; (b) the size and/or nature of the dangerous condition;

  and/or (c) the fact that the dangerous condition, a similar dangerous condition, or the cause of the

  dangerous condition was repetitive, continuous, ongoing, recurring, or occurring with some

  regularity. Thus, the dangerous condition was reasonably foreseeable and in the exercise of

  reasonable care the Defendant should have known about it.

  32.    In the alternative, notice to the Defendant is not required because the Defendant engaged in

  and was guilty of negligent maintenance; and/or (b) engaged in and was guilty of negligent methods

  of operations.




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  33.       The negligent condition was created by the Defendant; and was known to the Defendant; and

  had existed for a sufficient length of time so that Defendant should have known of it; and was a

  continuous or repetitive problem thus giving notice to the Defendant.

  34.       The negligent condition occurred with sufficient regularity so as to be foreseeable by the

  Defendant, and should have been foreseeable by the Defendant.

  35.       As a result of the Defendant's negligence, the Plaintiff has suffered bodily injury resulting in

  pain and suffering, disability, disfigurement, scarring, mental anguish, loss of capacity for the

  enjoyment of life, expense of hospitalization, medical and nursing care and treatment. The losses are

  either permanent or continuing.

  36.       The Plaintiff has suffered these losses in the past and will continue to suffer them in the

  future.

            WHEREFORE, the Plaintiff, GYLMA VELANDIA, demands judgment against MSC

  CRUISES S.A., in excess of the Seventy Five Thousand Dollars ($75,000.00), exclusive of interest

  and costs and demands a trial by jury of all issues triable as of right by jury.

                                    COUNT III- NEGLIGENCE
                                (AGAINST MSC CRUISES (USA) INC.)

            The Plaintiff, GYLMA VELANDIA, hereby adopts and realleges each and every

  allegation in paragraphs 1 through 16, above.

  37.       The Defendant owed the Plaintiff a duty to exercise reasonable care for the safety of its

  passengers, a duty to exercise reasonable care under the circumstances, and, but not limited to, a

  duty to warn of dangers known, or those it should have known, to the carrier in places where the

  passenger is invited to, or may reasonably be expected to visit.

  38.       Notwithstanding said duty, the Defendant breached those duties and was negligent by:




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                 a.      Failing to require crew members to wipe down wet and/or
                         soiled areas at or near the hallway and/or entryway near the
                         dining room;
                 b.      Failing to warn anyone including the Plaintiff who would
                         walk in said area, in the vicinity of the said area of the
                         dangerous condition and the fact that the floor was soiled;
                 c.      Failing to inspect for and to observe the foreign substance on
                         the floor at or near the hallway and/or entryway near the
                         dining room;
                 d.      Observing that the floor area was soiled, but failing to wipe
                         down the soiled floor area;
                 e.      Failing to implement a method of operation, which was
                         reasonable and safe and would prevent dangerous conditions
                         such as the one in this case;
                 f.      Allowing an ongoing, recurring, continuous and/or repetitive
                         problem to occur or to remain on the premises which would
                         cause accidents or injuries;
                 g.      Providing negligent maintenance to the area or to the
                         premises;
                 h.      Utilizing or allowing negligent methods of operations;
                 i.      Failing to otherwise maintain the area and the premises in a
                         safe and reasonable manner;
                 j.      Failing to comply with applicable industry standards, statutes,
                         and/or regulations, the violation of which is negligence per se
                         and/or evidence of negligence;
                 k.      Failing to otherwise provide its passengers with a safe place
                         to walk;
                 l.      Failing to properly maintain the hallway and/or entryway
                         near the dining room, so as to prevent passengers from
                         falling; and/or
                 m.      Failing to comply with applicable standards, statutes, and/or
                         regulations, the violation of which is negligence per se and/or
                         evidence of negligence.

  39.    The Defendant created a dangerous condition on the subject ship and allowed the dangerous

  condition to exist thereby causing an accident on the date referenced above in which the Plaintiff was

  severely injured.

  40.    The Defendant either (a) created the dangerous condition, through its agents or employees;

  (b) had actual knowledge of the dangerous condition; and/or (c) had constructive knowledge of the

  dangerous condition.




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   41.       The Defendant had constructive knowledge of the dangerous condition by, inter alia, (a) the

   length of time the dangerous condition existed; (b) the size and/or nature of the dangerous condition;

   and/or (c) the fact that the dangerous condition, a similar dangerous condition, or the cause of the

   dangerous condition was repetitive, continuous, ongoing, recurring, or occurring with some

   regularity. Thus, the dangerous condition was reasonably foreseeable and in the exercise of

   reasonable care the Defendant should have known about it.

   42.       In the alternative, notice to the Defendant is not required because the Defendant engaged in

   and was guilty of negligent maintenance; and/or (b) engaged in and was guilty of negligent methods

   of operations.

   43.       The negligent condition was created by the Defendant; and was known to the Defendant; and

   had existed for a sufficient length of time so that Defendant should have known of it; and was a

   continuous or repetitive problem thus giving notice to the Defendant.

   44.       The negligent condition occurred with sufficient regularity so as to be foreseeable by the

   Defendant, and should have been foreseeable by the Defendant.

   45.       As a result of the Defendant's negligence, the Plaintiff has suffered bodily injury resulting in

   pain and suffering, disability, disfigurement, scarring, mental anguish, loss of capacity for the

   enjoyment of life, expense of hospitalization, medical and nursing care and treatment. The losses are

   either permanent or continuing.

   46.       The Plaintiff has suffered these losses in the past and will continue to suffer them in the

   future.

             WHEREFORE, the Plaintiff, GYLMA VELANDIA, demands judgment against MSC

   CRUISES (USA) INC., in excess of the Seventy Five Thousand Dollars ($75,000.00), exclusive of

   interest and costs and demands a trial by jury of all issues triable as of right by jury.



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                                   DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a jury trial on all issues so triable.

               Dated this     23      day of March, 2016.


                                                   Respectfully submitted,


                                                   Velasquez Dolan Arias, P.A.
                                                   Counsel for Plaintiff
                                                   101 North Pine Island Road – Suite 201
                                                   Plantation, Florida, 33324
                                                   Phone: (954) 382-0533 – Fax: (954) 382-0585


                                                   By:      /s/ Carlos A. Velasquez
                                                             CARLOS A. VELASQUEZ, ESQ.
                                                             Florida Bar No.: 755982
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